                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 1 of 25 Page ID #:4



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                12
                13                                UNITED STATES DISTRICT COURT
                14
                                  CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                15
                             IN RE:                                   Case No: ___________________
                16
                             VITALY IVANOVICH SMAGIN,                 [Regarding U.S. Bankruptcy Court for
                17                                                    the Central District of California
                                          Foreign Debtor              Chapter 15
                18                                                    Case No. 2:21-bk-15342-BB]

                19                                                    MEMORANDUM OF POINTS AND
                                                                      AUTHORITIES IN SUPPORT OF
                20                                                    FOREIGN DEBTOR VITALY
                                                                      IVANOVICH’ S MOTION FOR
                21                                                    WITHDRAWAL OF REFERENCE

                22                                                    To Be Assigned to District Court
                                                                      Pursuant to C.D. Cal. L.B.R. 5011-2
                23
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                27
                28
 Baker & McKenzie LLP                                                                                 Case No.
10250 Constellation Blvd.,
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 Los Angeles, CA 90067
   Tel: 310.201.4728
                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 2 of 25 Page ID #:5



                   1                                                 TABLE OF CONTENTS
                   2
                   3
                             I.     INTRODUCTION ................................................................................................ 1
                   4
                             II.    FACTUAL BACKGROUND .............................................................................. 3
                   5
                                          The Relevant Parties Have a Lengthy History in the District Court. ........... 3
                   6
                                          The Chapter 15 Case. .................................................................................... 4
                   7
                                          The Foreign Debtor’s Only Assets Within the Territorial Jurisdiction of the
                   8                      U.S. Are Encompassed in the Smagin Litigation Matters. .......................... 6
                   9                      Substitution Motion and Appeal ................................................................... 8
                10                        Differing Interpretations of the District Court’s October 8 Orders. ........... 10
                11           III.   ARGUMENTS AND AUTHORITY ................................................................. 11
                12                        The District Court Has the Authority to Withdraw the Reference of the
                                          Chapter 15 Case from the Bankruptcy Court. ............................................ 11
                13
                                          Cause Exists to Withdraw the Reference of the Chapter 15 Case.............. 13
                14
                             IV.    LEGAL ARGUMENT ....................................................................................... 13
                15
                                          Withdrawal of the Reference Will Promote the Efficient Use of Judicial
                16                        Resources. ................................................................................................... 13
                17                        Withdrawal of the Reference Will Avoid Unnecessary Incurrence of Costs
                                          to All Parties and Expedite the Chapter 15 Process. ................................. 17
                18
                                          Withdrawal of the Reference Will Have No Adverse Impact on the
                19                        Uniformity of Bankruptcy Administration................................................. 18
                20                        Withdrawal of the Reference to Judge Klausner’s Division of the District
                                          Court Will Eliminate Ratnikov’s Future Attempts at Forum Shopping. ... 18
                21
                                          Withdrawal of the Reference Will Promote the Interests of Uniformity
                22                        and Consistency. ........................................................................................ 20
                23           V.     CONCLUSION .................................................................................................. 20
                24
                25
                26
                27
                28
 Baker & McKenzie LLP                                                                    i                                                    Case No.
10250 Constellation Blvd.,
       Suite 1850                      MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 3 of 25 Page ID #:6



                   1                                                TABLE OF AUTHORITIES
                   2                                                                                                                        Page(s)
                   3
                             Cases
                   4
                             In re Adelphia Commc’ns Corp. Sec. & Derivative Litig.,
                   5             2006 WL 337667 (S.D.N.Y. Feb. 10, 2006) ........................................................... 16
                   6
                             Dev. Specialists, Inc. v. Akin Gump Strauss Hauer & Feld LLP,
                   7           462 B.R. 457 (S.D.N.Y. 2011) ................................................................................ 18
                   8         Re: Docket 18, 19, 20, 21 and 22,
                   9            Substitution Appeal, DE No. 25 ................................................................................ 2
                10           Dynegy Danskammer, L.L.C. v. Peabody Coaltrade Int’l Ltd.,
                11             905 F. Supp. 2d 526 (S.D.N.Y. 2012) ..................................................................... 18

                12           Extended Stay, Inc. v. Blackstone Grp.,
                                466 B.R. 188 (S.D.N.Y. 2011) ................................................................................ 18
                13
                14           Northern Pipeline Constr. Co. v. Marathon Pipe Line Co.,
                               458 U.S. 50 (1982)................................................................................................... 11
                15
                             S. St. Seaport Ltd. P’ship v. Burger Boys, Inc. (In re Burger Boys, Inc.),
                16
                                 94 F.3d 755 (2d Cir. 1996) ...................................................................................... 12
                17
                             Security Farms v. International Broth,
                18              124 F.3d 999 (9th Cir. 1997) ............................................................................ passim
                19
                             In re Sevko, Inc.,
                20               143 B.R. 114 (N.D. Ill. 1992) .................................................................................. 12
                21           Smagin v. Compagnie Monégasque De Banque et al.,
                22             Case No. 2:20-cv-11236-RGK-PLA ......................................................................... 4

                23           Smagin v. Yegiazaryan et al.,
                               Case No. 2:17-cv-6126-RGK-PLA ..................................................................... 4, 17
                24
                25           Vitaly Ivanovich Smagin v. Ashot Yegiazaryan and CTX Treuhand AG as
                                Trustee of the Alpha Trust,
                26              Case No. 2:17-cv-06126-R (C.D. Cal.) (J. Klausner) ............................................... 7
                27
                28
                                                                                        ii                                                 Case No.
 Baker & McKenzie LLP
10250 Constellation Blvd.,
       Suite 1850
                                         MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 4 of 25 Page ID #:7



                   1         Vitaly Ivanovich Smagin v. Compagnie Monegasque De Banque, et al.,
                   2            No. 2:20-cv-11236-RGK-PLA (C.D. Cal.) (J. Klausner) ......................................... 7

                   3         Vitaly Ivanovich Smagin v. Evgeniy Nikolaevich Ratnikov,
                                Case No. 2:21-cv-07562-RGK (C.D. Cal.) ........................................................... 2, 8
                   4
                   5         Vitaly Smagin v. Compagnie Monegasque De Banque, et al.,
                                Case No. 21-55537 (9th Cir.) .................................................................................... 7
                   6
                             Wedtech Corp. v. London (In re Wedtech Corp.),
                   7           81 B.R. 237 (S.D.N.Y. 1987) .................................................................................. 16
                   8
                             Statutes
                   9
                             11 U.S.C. § 101 et seq. ................................................................................................. 11
                10
                11           11 U.S.C. §1501 et. seq. ................................................................................................. 1

                12           11 U.S.C. §§ 1520(a)(1), (2), 1521(a)(5)........................................................................ 6
                13           11 U.S.C. §1524 .............................................................................................................. 8
                14           28 U.S.C. § 157 ....................................................................................................... 11, 12
                15
                             28 U.S.C. § 157(a) ........................................................................................................ 12
                16
                             28 U.S.C. §157(d) .................................................................................................. passim
                17
                18           28 U.S.C. § 1334(a) ...................................................................................................... 12

                19           Bankruptcy Act of 1978 ................................................................................................ 11
                20           Federal Judgeship Act of 1984, Pub. L. No. 98-353, 98 Stat. 333 (1984) ................... 11
                21
                             Other Authorities
                22
                             Local Rule 9 ................................................................................................................... 1
                23
                             Local Rule 83-1.3.1 ........................................................................................................ 4
                24
                25
                26
                27
                28
                                                                                           iii                                                    Case No.
 Baker & McKenzie LLP
10250 Constellation Blvd.,
       Suite 1850
                                          MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 5 of 25 Page ID #:8



                   1         I.    INTRODUCTION
                   2               Foreign Debtor, Vitaly Ivanovich Smagin (“Smagin” or the “Debtor”), hereby
                   3
                             seeks withdrawal of the reference from the Bankruptcy Court for this District of Case
                   4
                   5         No. 2:21-bk-15342-BB (the “Chapter 15 Case”), pending under Chapter 15 of the
                   6         United States Bankruptcy Code, 11 U.S.C. §1501 et. seq. (“Chapter 15”), pursuant to
                   7
                             28 U.S.C. §157(d).
                   8
                   9               The proceedings conducted before the Bankruptcy Court since the
                10
                             commencement of the Chapter 15 Case by the Foreign Representative, Evgeniy
                11
                             Nikolaevich Ratnikov (“Ratnikov” or the “Foreign Representative”), demonstrate that
                12
                13           the only assets and issues in the Chapter 15 Case arise from or relate to the Smagin
                14
                             Litigation Matters (as described and defined below), all of which are pending in or arise
                15
                             from the Division of this Court over which the Hon. R. Gary Klausner presides.1 As
                16
                17           shown below, Judge Klausner has extensive involvement in and familiarity with the
                18
                             Smagin Litigation Matters gained over the past two and a half years, and thus is
                19
                             uniquely situated to preside over the Chapter 15 Case. As such, withdrawal of the
                20
                21           reference to Judge Klausner will achieve “the efficient use of judicial resources, (avoid)
                22
                             delay and costs to the parties, uniformity of bankruptcy administration, the prevention
                23
                24           of forum shopping, and other related factors” that constitute “cause” for withdrawal of

                25
                26           1
                                Contemporaneously filed herewith, pursuant to the Local Rules 9 and 83-1.3.1, is a
                27           Notice of Related Case, seeking assignment and transfer of this proceeding to Judge
                             Klausner.
                28
 Baker & McKenzie LLP                                                   1                                     Case No.
10250 Constellation Blvd.,
       Suite 1850                     MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                       Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 6 of 25 Page ID #:9



                   1         the reference under 28 U.S.C. §157(d) (the “Security Farms Factors”). Security Farms
                   2
                             v. International Broth, 124 F.3d 999, 1008 (9th Cir. 1997).
                   3
                   4                    As described more fully below, the triggering events for the filing of this Motion

                   5         are the recent proceedings before Judge Klausner in the context of:
                   6
                                      The Debtor’s appeal from a ruling of the Bankruptcy Court (the “Substitution
                   7
                   8                    Appeal”)2 relating directly to the Enforcement Action (as defined and described

                   9                    below);
                10
                                      The efforts of the Foreign Representative to engage in forum shopping for the
                11
                12                      Substitution Appeal -- first by contesting the transfer of that case to Judge
                13                      Klausner’s Division, and then by seeking rehearing of the Order that transferred
                14
                                        the Appeal to that Division;3 and
                15
                16                     The separate Orders entered by Judge Klausner in the Enforcement Action and
                17
                                 Substitution Appeal on October 8, 2021 (the “October 8 Orders”),4 confirming and
                18
                                 demonstrating that those two matters were related and inextricably intertwined.
                19
                20           2
                                Vitaly Ivanovich Smagin v. Evgeniy Nikolaevich Ratnikov, Case No. 2:21-cv-
                21           07562-RGK (C.D. Cal.), referred to as the “Substitution Appeal.”
                             3
                22              Foreign Representative’s Opposition to Notice of Related Cases, Substitution
                             Appeal, DE No. 10; Order Re Transfer Pursuant to General Order 21-01 (Related
                23           Cases),Substitution Appeal, DE No. 17; and Motion for Reconsideration of Order Re
                             Transfer Pursuant to General Order 21-01 (Related Cases), Substitution Appeal,
                24           DE No. 21. True and correct copies of the above-listed documents are attached to the
                             accompanying Declaration of Nicholas O. Kennedy (“Kennedy Decl.”), as Exhibits
                25           (“Exhs.”) 1, 2 and 3 respectively.
                             4
                26              Minutes (in Chambers) Order Re: Docket 18, 19, 20, 21 and 22, Substitution Appeal,
                             DE No. 25 (Kennedy Decl., Exh. 4); Minutes (in Chambers) Order Re: Motion to
                27           Substitute for Plaintiff Under FRCP 17(a) and 25(c), Case No. 2:14-cv-09764-RGK-
                             PLA, (“Enforcement Action”), DE No. 399 (Kennedy Decl., Exh. 5).
                28
                                                                            2                                    Case No.
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10250 Constellation Blvd.,
       Suite 1850
                                          MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                      Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 7 of 25 Page ID #:10



                   1               In light of the Security Farms Factors and the recent events referenced above and
                   2
                             described more fully below, the instant Motion is timely and “cause” exists to withdraw
                   3
                   4         the reference of the Chapter 15 Case to the Division of this Court over which the Hon.

                   5         R. Gary Klausner presides.
                   6
                             II.   FACTUAL BACKGROUND
                   7
                   8                      The Relevant Parties Have a Lengthy History in the District Court.
                   9         On November 11, 2014, Smagin obtained an arbitral award from the London Court of
                10
                             International Arbitration against Ashot Yegiazaryan (“Ashot”) in a dispute over
                11
                12           dealings related to the financing of a Moscow shopping center. The award ordered
                13           Ashot to pay Smagin $84,290,064.40 and post-award interest of 8% at an annual
                14
                             quarterly compounded rate. On December 22, 2014, Smagin filed a petition in the
                15
                16           District Court for the Central District of California (the “District Court”) to confirm that
                17           award, and on March 17, 2016, the District Court entered a final judgment in Smagin’s
                18
                             favor for $92,503,652 (the “U.S. Judgment”). The U.S. Judgment remains uncollected.
                19
                20                 Since the U.S. Judgment was entered, Ashot has attempted to prevent Smagin
                21           from collecting on the award by engaging in illegal activity to conceal funds and
                22
                             frustrate legitimate and fully legal collection efforts around the world. The District
                23
                24           Court -- and specifically Judge Klausner since the assignment of the Enforcement
                25           Action to his Division following the passing of the Hon. Manuel L. Real in 2019 -- has
                26
                             been instrumental in Smagin’s ability to overcome (so far) Ashot’s fraudulent schemes.
                27
                28
                                                                         3                                      Case No.
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 Los Angeles, CA 90067
   Tel: 310.201.4728
                      Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 8 of 25 Page ID #:11



                   1         On August 18, 2017, Smagin filed an action in the District Court against Ashot and
                   2
                             other defendants seeking to recover certain alleged fraudulent transfers captioned as
                   3
                   4         Smagin v. Yegiazaryan et al., Case No. 2:17-cv-6126-RGK-PLA (the “Fraudulent

                   5         Transfer Action”). That case is currently stayed. On December 11, 2020, Smagin
                   6
                             commenced an action in the District Court against Ashot and other defendants captioned
                   7
                   8         as Smagin v. Compagnie Monégasque De Banque et al., Case No. 2:20-cv-11236-RGK-

                   9         PLA,5 asserting certain civil racketeering and conspiracy (RICO) claims against Ashot,
                10
                             Ratnikov, and certain other defendants on account of alleged actions to frustrate
                11
                12           Smagin’s enforcement of the U.S. Judgment (the “RICO Action”). Upon filing, each

                13           of the Fraudulent Transfer Action and the RICO Action was transferred to Judge
                14
                             Klausner as a related case to the Enforcement Action, in accordance with District Court
                15
                16           Local Rule 83-1.3.1.

                17                        The Chapter 15 Case.
                18
                                    In August 2020, a Russian court entered an order commencing a bankruptcy case
                19
                             against Smagin. In May 2021, the Russian court announced Smagin as bankrupt and
                20
                21           appointed Ratnikov as his financial manager in that case. On September 14, 2020,
                22
                             Ratnikov tried to intervene directly into the Enforcement Action. [Ratnikov’s Motion
                23
                             to Intervene, Enforcement Action DE No. 312, Kennedy Decl., Exh. 6]. This effort
                24
                25           was rejected by Judge Klausner on November 9, 2020. (Order Re Motion to Intervene,
                26
                27           5
                                 Now pending before the Ninth Circuit Court of Appeals as Case No. 21-55537.
                28
                                                                       4                                   Case No.
 Baker & McKenzie LLP
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       Suite 1850
                                      MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                      Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 9 of 25 Page ID #:12



                   1         Enforcement Action, DE No. 346, Kennedy Decl., Exh. 7).
                   2
                                    On June 30, 2021, Ratnikov filed the Chapter 15 Petition for Recognition of a
                   3
                   4         Foreign Proceeding [Chapter 15 Case, DE No. 1, Kennedy Decl., Exh. 8] (the

                   5         “Petition”), seeking recognition of the Russian proceeding as a foreign main proceeding
                   6
                             and related relief.
                   7
                   8                Smagin opposed the Petition. [Chapter 15 Case, DE No. 40 , Kennedy Decl.,

                   9         Exh. 9]. The Bankruptcy Court overruled Smagin’s objections to recognition, but
                10
                             limited the relief sought by Ratnikov by authorizing the appointment of an Independent
                11
                12           Third Party agreed to by the parties to: (i) administer the RICO Action; (ii) monitor the

                13           conduct of the Foreign Representative with regard to the Subject Matter Litigations and
                14
                             in matters relating to sale or settlement of the U.S. Judgment; and (iii) seek emergency
                15
                16           relief upon the occurrence of any events that may affect the collection or enforceability

                17           of the U.S. Judgment. [Chapter 15 Case, DE No. 84 (the “Relief Order”), pp 5-9,
                18
                             Kennedy Decl., Exh. 10]. In addition, any proposed disposition of Smagin’s assets by
                19
                20           Ratnikov, including any sale or settlement of the Judgment in the Enforcement Action,
                21           initiates a contested matter in which Smagin may obtain discovery and be heard in the
                22
                             Chapter 15 Case. [Relief Order, p. 8, Kennedy Decl., Exh. 10].
                23
                24                  In the two and one-half months since entry of the Relief Order on August 13,
                25           2021, the primary activity in the Chapter 15 Case6 has consisted of monthly status
                26
                27           6
                                 The sole exception has been the proceedings relating to the Substitution Motion and
                28
                                                                        5                                    Case No.
 Baker & McKenzie LLP
10250 Constellation Blvd.,
       Suite 1850
                                      MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 10 of 25 Page ID #:13



                   1         conferences keyed to the filing of monthly status reports by each of the Foreign
                   2
                             Representative and Independent Third Party regarding the Smagin Litigation Matters.
                   3
                   4         Moving forward, the only anticipated activities in the Chapter 15 Case solely relate to

                   5         the Smagin Litigation Matters -- e.g., continued status reports and monthly status
                   6
                             conferences through at least January of 2022,7 and the possibility of one or more
                   7
                   8         motions by Ratnikov seeking authority to sell and/or settle the U.S. Judgment and

                   9         claims asserted in the Smagin Litigation Matters.
                10
                                           The Foreign Debtor’s Only Assets Within the Territorial Jurisdiction
                11                         of the U.S. Are Encompassed in the Smagin Litigation Matters.
                12
                                   Unlike a case filed under another chapter of the Bankruptcy Code, a case under
                13
                             Chapter 15 relates only to “assets within the territorial jurisdiction of the United States.”
                14
                15           11 U.S.C. §§ 1520(a)(1), (2), 1521(a)(5). Here, the only assets of the Debtor within the
                16
                             territorial jurisdiction of the United States consist of the U.S. Judgment and the
                17
                             following Civil Actions (collectively, the “Smagin Litigation Matters” and together,
                18
                19           with the U.S. Judgment, the “U.S. Assets”):
                20
                                   1.      Vitaly Ivanovich Smagin v. Ashot Yegiazaryan, Case No. 2:14-cv-09764-
                21
                                           RGK-PLA (C.D. Cal.) (J. Klausner) (the “Enforcement Action”). The
                22
                23
                24
                25
                             giving rise to the Substitution Appeal, as more fully described in section II D, infra.
                26           7
                                Order Modifying Reporting Obligations for the Foreign Representative and the
                27           Independent Third Party, Chapter 15 Case, DE No. 129, Kennedy Decl., Exh. 11;
                             Scheduling Order Chapter 15 Case, DE No. 100, Kennedy Decl., Exh. 12.
                28
                                                                          6                                     Case No.
 Baker & McKenzie LLP
10250 Constellation Blvd.,
       Suite 1850
                                        MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 11 of 25 Page ID #:14



                   1                       Enforcement Action involves enforcement of the U.S. Judgment in favor
                   2
                                           of Smagin and against Ashot for more than $92 million.
                   3
                   4               2.      Vitaly Ivanovich Smagin v. Ashot Yegiazaryan and CTX Treuhand AG as
                   5
                                           Trustee of the Alpha Trust, Case No. 2:17-cv-06126-R (PLAx) (C.D. Cal.)
                   6
                   7                       (J. Klausner) (the “Fraudulent Transfer Action”). This is a supplemental
                   8                       proceeding in aid of enforcement of the U.S. Judgment in the Enforcement
                   9
                                           Action, which is currently stayed.
                10
                11
                                   3.      Vitaly Ivanovich Smagin v. Compagnie Monegasque De Banque, et al.,
                12
                13                         No. 2:20-cv-11236-RGK-PLA, (C.D. Cal.) (J. Klausner) (the “RICO

                14                         Action”). This is a supplemental proceeding filed by Smagin asserting
                15
                                           RICO violations against Ashot, Ratnikov, and numerous others based on a
                16
                17                         scheme to prevent enforcement of the U.S. Judgment in the Enforcement

                18                         Action. The District Court dismissed the case on May 5, 2021 based on
                19
                                           jurisdictional issues. The case is currently on appeal to the Ninth Circuit
                20
                21                         Court of Appeals at Vitaly Smagin v. Compagnie Monegasque De Banque,
                22                         et al., Case No. 21-55537 (9th Cir.).
                23
                24                 As noted above, these cases represent Smagin’s only assets in the U.S. Each of
                25
                             them is or was pending before Judge Klausner.
                26
                27
                28
                                                                         7                                   Case No.
 Baker & McKenzie LLP
10250 Constellation Blvd.,
       Suite 1850
                                        MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 12 of 25 Page ID #:15



                   1                      Substitution Motion and Appeal
                   2         On September 17, 2021, Ratnikov filed a motion seeking to substitute himself for
                   3
                             Smagin as the plaintiff in the Enforcement Action. [Ratnikov’s Motion to Substitute
                   4
                   5         for Plaintiff, Enforcement Action, DE No. 398, Kennedy Decl., Exh. 13] (the
                   6         “Substitution Motion”). Smagin sought to file a limited response to the Substitution
                   7
                             Motion, asserting the sole legal issue that the requested relief was inconsistent with
                   8
                   9         applicable law that authorizes a foreign representative to “intervene,” but not to
                10           substitute, in pending litigation.8
                11
                                   Respecting the prohibition in the Relief Order against making any filings in the
                12
                13           Enforcement Action without consent of the Bankruptcy Court,, Smagin filed a motion
                14
                             for leave in the Chapter 15 Case (the “Motion for Leave”), requesting permission to file
                15
                             a limited response in the District Court directed solely to the issue of whether Ratnikov
                16
                17           was entitled to substitute in the Enforcement Action in the place of Smagin, or only to
                18
                             intervene as lead plaintiff. [Motion for Leave, Chapter 15 Case, DE No. 102, Kennedy
                19
                             Decl., Exh. 14]. The Bankruptcy Court denied the Motion for Leave without a hearing,
                20
                21           and Smagin appealed that denial to the District Court. Vitaly Ivanovich Smagin v.
                22
                             Evgeniy Nikolaevich Ratnikov, Case No.          2:21-cv-07562-RGK (C.D. Cal.) (the
                23
                             “Substitution Appeal”).
                24
                25
                26           8
                                 “Upon recognition of a foreign proceeding, the foreign representative may intervene
                27           in any proceedings in a State or Federal court in the United States in which the debtor
                             is a party.” 11 U.S.C. §1524 (emphasis added).
                28
                                                                        8                                    Case No.
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10250 Constellation Blvd.,
       Suite 1850
                                      MEMORANDUM OF FOREIGN DEBTOR ISO OF MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 13 of 25 Page ID #:16



                   1               During the course of the Substitution Appeal, Smagin filed a notice of related
                   2
                             cases [Notice of Related Parties, Substitution Appeal, DE No. 12, Kennedy Decl.,
                   3
                   4         Exh. 15], given the connection of that Appeal to the Enforcement Action and the other

                   5         Smagin Litigation Matters. Ratnikov opposed the transfer of the Substitution Appeal
                   6
                             to Judge Klausner [Opposition to Notice of Related Cases, Substitution Appeal, DE
                   7
                   8         No. 10, Kennedy Decl., Exh. 1]. After the District Court transferred the Substitution

                   9         Appeal to Judge Klausner over Ratnikov’s opposition [Order Re Transfer Pursuant to
                10
                             General Order 21-01 (Related Cases), Substitution Appeal, DE No. 17, Kennedy Decl.,
                11
                12           Exh. 2] (the "Transfer Order"), Ratnikov sought reconsideration of the Transfer Order

                13           [Kennedy Decl., Exh. 3].
                14
                                   Judge Klausner did not address Ratnikov’s reconsideration of the motion.
                15
                16           Instead, Judge Klausner rendered the Substitution Appeal moot by granting in part and

                17           denying in part the Substitution Motion in a pair of Orders entered on October 8, 2021:
                18
                             “[T]he court hereby JOINS Ratnikov to this action as lead plaintiff, and DENIES as
                19
                20           moot Ratnikov’s request to be substituted in as Plaintiff in Smagin’s stead.”9 In other
                21           words, Judge Klausner rejected Ratnikov’s request to substitute, and granted him the
                22
                             intervention Smagin argued was appropriate (and to which he had advised Ratnikov's
                23
                24           counsel he would consent ).
                25
                             9
                26             Minutes (in Chambers) Order Re: Motion to Substitute for Plaintiff Under FRCP
                             17(a) & 25(c), Enforcement Action, DE No. 399, Kennedy Decl., Exh. 5 (“the Joinder
                27           Order”).
                28
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 14 of 25 Page ID #:17



                   1                 In light of the Joinder Order in the Enforcement Action, Judge Klausner denied
                   2
                             all pending motions in the Substitution Appeal as moot and directed the Debtor to show
                   3
                   4         cause why the Substitution Appeal should not be dismissed as moot. 10 Smagin timely

                   5         filed a Response and Consent to Dismissal immediately after the Status Conference held
                   6
                             before the Bankruptcy Court on October 13, 2021 agreeing that the Appeal was moot
                   7
                   8         and requesting its dismissal.11

                   9                       Differing Interpretations of the District Court’s October 8 Orders.
                10                   While the Joinder Order clearly adopted the Debtor’s position on the sole legal
                11
                             issue he sought to raise in the Motion for Leave -- that Ratnikov could intervene or, as
                12
                13           Judge Klausner held, join as lead plaintiff and take control of the Enforcement Action
                14
                             but not substitute in as sole plaintiff in the place of Smagin -- counsel for the Foreign
                15
                             Representative sought to create confusion about the substance and effect of that Order
                16
                17           in the Bankruptcy Court during a Status Conference held on October 13, 2021. As a
                18
                             result of that effort, the interpretation of the District Court’s Joinder Order became the
                19
                             focal point of that Status Conference.       Indeed, the Bankruptcy Court expressed
                20
                21           confusion about the intent and effect of the Joinder Order. October 13 Hr’g Tr. p. 8:21-
                22
                             25; 9:1-19; 11:4-9, Kennedy Decl., Exh. 17.
                23
                                     It is apparent from the record of the Status Conference that the Chapter 15 Case
                24
                25
                             10
                26                Substitution Appeal, DE No. 25, Kennedy Decl., Exh. 4 (the “Mootness Order”).
                             11
                27              Appellant’s Response to Order to Show Cause and Consent to Dismissal of Appeal
                             as Moot, Substitution Appeal, DE No. 26, Kennedy Decl., Exh. 16.
                28
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 15 of 25 Page ID #:18



                   1         is dominated by issues concerning the Smagin Litigation Matters; indeed, there are no
                   2
                             other assets within the territorial jurisdiction of the United States, and no underlying
                   3
                   4         purpose for the Chapter 15 Case other than as respects those Litigation Matters. Having

                   5         all of these matters heard by the same judge, one with familiarity of the long history of
                   6
                             U.S. Judgment and subsequent proceedings in the Smagin Litigation Matters, will avoid
                   7
                   8         the confusion, inefficiencies, and opportunity for abuse that the current situation

                   9         presents and the transcript of the October 13 Status Conference in the Bankruptcy Court
                10
                             reflects.
                11
                12           III.   ARGUMENTS AND AUTHORITY
                13
                                            The District Court Has the Authority to Withdraw the Reference of
                14                          the Chapter 15 Case from the Bankruptcy Court.
                15                  In 1982, the Supreme Court ruled unconstitutional the broad grant of jurisdiction
                16
                             to bankruptcy judges contained in the Bankruptcy Act of 1978, which included the
                17
                18           authority to hear and finally determine all bankruptcy-related matters. See Northern
                19           Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50 (1982). Congress reacted
                20
                             by enacting the Bankruptcy Amendments and Federal Judgeship Act of 1984, Pub. L.
                21
                22           No. 98-353, 98 Stat. 333 (1984). Section 104 of the Act created 28 U.S.C. § 157, which
                23           defines the relationship between bankruptcy courts and district courts. Despite the fact
                24
                             that district courts have “original and exclusive jurisdiction of all cases under title 11,”12
                25
                26
                             12
                27              Title 11 of the U.S. Code is commonly known as the Bankruptcy Code, 11 U.S.C.
                             § 101 et seq.
                28
                                                                          11                                     Case No.
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                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 16 of 25 Page ID #:19



                   1         28 U.S.C. § 1334(a), a district court may “refer[] to the bankruptcy judges for the
                   2
                             district” any or all bankruptcy cases. 28 U.S.C. § 157(a). Since 1984, all bankruptcy
                   3
                   4         cases in this District have been referred to the bankruptcy courts. C.D. Cal Order of

                   5         the Chief Judge References Under Title 11 and Withdrawal of General Order No. 242-
                   6
                             A, dated July 20, 1984.
                   7
                   8               Once a title 11 case or proceeding has been referred to the bankruptcy court, the

                   9         district court’s authority to withdraw the reference is governed by 28 U.S.C. § 157 (d):
                10
                             “The district court may withdraw, in whole or in part, any case or proceeding referred
                11
                12           under this section, on its own motion or on timely motion of any party, for cause

                13           shown.”
                14
                                   Section 157 does not define the term “cause.” S. St. Seaport Ltd. P’ship v. Burger
                15
                16           Boys, Inc. (In re Burger Boys, Inc.), 94 F.3d 755, 762 (2d Cir. 1996). There is no set

                17           time limit for seeking withdrawal of the reference—it must simply be “timely.” Some
                18
                             courts have noted that the timeliness requirement does not necessarily apply to
                19
                20           permissive withdrawal motions. See, e.g., In re Sevko, Inc., 143 B.R. 114 (N.D. Ill.
                21           1992) (“[W]hen a party seeks mandatory withdrawal, they should do so as soon as
                22
                             possible, but if they seek only discretionary withdrawal, they must do so only at the first
                23
                24           reasonable opportunity.”). The instant Motion is filed on the heels of the events that
                25           arose from the Foreign Representative's Substitution Motion and culminated in the
                26
                             confusion generated at the Status Conference on October 13, 2021, less than two weeks
                27
                28
                                                                        12                                     Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 17 of 25 Page ID #:20



                   1         ago.
                   2
                                          Cause Exists to Withdraw the Reference of the Chapter 15 Case.
                   3
                             Whether to withdraw a case under section 157(d) for cause shown is within the District
                   4
                   5         Court’s discretion. The Ninth Circuit has applied the Security Farms Factors in making
                   6         this determination: “the efficient use of judicial resources, delay and costs to the parties,
                   7
                             uniformity of bankruptcy administration, the prevention of forum shopping, and other
                   8
                   9         related factors.” Security Farms v. Int’l Bhd. of Teamsters, 124 F.3d 999, 1008 (9th
                10           Cir. 1997). As demonstrated below, the Security Farms Factors weigh in favor of
                11
                             finding good cause to withdraw the reference from the Bankruptcy Court.
                12
                13           IV.    LEGAL ARGUMENT
                14
                                          Withdrawal of the Reference Will Promote the Efficient Use of
                15                        Judicial Resources.
                16
                                    The first of the Security Farms Factors is whether withdrawal of the reference
                17
                18           will promote the efficient use of judicial resources. Here, it is hard to imagine a less

                19           efficient use of judicial resources than arose in connection with the Substitution Appeal
                20
                             and the ensuing Status Conference before the Bankruptcy Court.
                21
                22           In accordance with the Relief Order that prohibited him from any direct filings in the

                23           Enforcement Action, Smagin filed his Motion for Leave seeking permission from the
                24
                             Bankruptcy Court to file a Limited Response to the Substitution Motion in the
                25
                26           Enforcement Action, and an expedited hearing on that Motion for Leave in the hope of

                27           filing the Limited Response in that Action prior to the October 18 return date under the
                28
                                                                         13                                     Case No.
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                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 18 of 25 Page ID #:21



                   1         Local Rules of the District Court. Upon the Bankruptcy Court’s denial of both the
                   2
                             application for expedited hearing and the Motion for Leave, Smagin filed the
                   3
                   4         Substitution Appeal to the District Court, where it initially was assigned to the Hon.

                   5         Otis D. Wright II and then had to be transferred to Judge Klausner as a related case.
                   6
                             Upon transfer over the Foreign Representative’s vehement opposition,13 Judge Klausner
                   7
                   8         entered the October 8 Orders that disposed of both the Substitution Motion and

                   9         Substitution Appeal, after which confusion and a controversy arose at an ensuing Status
                10
                             Conference before Judge Bluebond about the interpretation and effect of those Orders.
                11
                12                 The focus of all the proceedings commenced by Smagin’s Motion for Leave in

                13           the Bankruptcy Court -- the only motion filed in that Court since the September 15
                14
                             Status Conference -- was the single, narrow issue of law presented by the Foreign
                15
                16           Representative’s effort to substitute, rather than intervene, in the Enforcement Action.14

                17           Nevertheless, the pendency of the Chapter 15 Case in the Bankruptcy Court required
                18
                             that these proceedings bounce from the Bankruptcy Court to the District Court and back
                19
                20           again, and in the process the Foreign Representative ignited a wasteful (and baseless)
                21           controversy over whether the Substitution Appeal was related to the Enforcement
                22
                             Action. Even after entry of the October 8 Orders, the controversy continued before the
                23
                24           13
                                Ratnikov’s desperate and futile efforts to prevent transfer of the Substitution Appeal
                25           to Judge Klausner, and even seek reconsideration of that transfer, are addressed in
                             section II.D, infra.
                26           14
                               As mentioned, Judge Klausner’s Joinder Order resolved that issue in the manner
                27           Smagin urged from the outset -- by adding Ratnikov as lead plaintiff in the Enforcement
                             Action as lead plaintiff rather than substituting him into that action in Smagin's place.
                28
                                                                        14                                    Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 19 of 25 Page ID #:22



                   1         Bankruptcy Court, as counsel for the parties differed sharply at the October 13 Status
                   2
                             Conference on the meaning and interpretation of those Orders, about which the
                   3
                   4         Bankruptcy Court expressed some “confusion.” October 13 Hr’g Tr. p. 8-14, Kennedy

                   5         Decl., Exh. 17.
                   6
                                   The extended colloquy between the Bankruptcy Court and counsel at the Status
                   7
                   8         Conference did little to resolve the disagreement, with counsel for the Foreign

                   9         Representative requesting “guidance“ from the Bankruptcy Judge about whether to seek
                10
                             a contempt order, and Smagin’s counsel maintaining that the Joinder Order brought
                11
                12           about precisely the result that Smagin initially sought in the Motion for Leave (and to

                13           which Smagin offered to consent in an early effort to avoid this entire saga). October
                14
                             13 Hr’g Tr. p. 16-17, Kennedy Decl., Exh. 17. The notion that Ratnikov’s counsel
                15
                16           would seek a contempt sanction from the Bankruptcy Court arising from a dispute over

                17           the meaning and effect of the October 8 Orders entered by the District Court that upheld
                18
                             Smagin's position is as bizarre as it sounds, and underscores the inefficiency and waste
                19
                20           of judicial resources that only can be avoided by withdrawal of the reference of the
                21           Chapter 15 Case.
                22
                                   Moreover, the dispute that unfolded before the Bankruptcy Court at the
                23
                24           October 13 Status Conference confirms that just like the Enforcement Action itself, the
                25           issues relating to the Enforcement Action will be hotly contested by Smagin and
                26
                             Ratnikov. Given the intensity of these disputes, it would appear inevitable that further
                27
                28
                                                                       15                                   Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 20 of 25 Page ID #:23



                   1         appeals will arise from orders and judgments of the Bankruptcy Court that relate to the
                   2
                             Smagin Litigation Matters. It is both unwieldly and unthinkable that each such
                   3
                   4         additional appeal should give rise to jockeying by the Foreign Representative to evade

                   5         assignment or transfer to Judge Klausner’s Division, followed by a decision from the
                   6
                             District Court that becomes the topic of a heated debate before the Bankruptcy Court;
                   7
                   8         indeed, a less efficient, more wasteful deployment of judicial resources can hardly be

                   9         imagined.
                10
                                   Given the extensive overlap between the Chapter 15 Case and the Smagin
                11
                12           Litigation Matters pending in the District Court -- especially the Enforcement Action -

                13           - withdrawal of the reference is justified to promote the efficient use of judicial
                14
                             resources and minimize the risk of inconsistent results on factual and legal issues
                15
                16           presented to two different courts. See Wedtech Corp. v. London (In re Wedtech Corp.),

                17           81 B.R. 237, 239 (S.D.N.Y. 1987) (Where a proceeding in a bankruptcy court involves
                18
                             common issues of law and fact with a case pending in district court, “the overlapping
                19
                20           of facts, transactions and issues in the two cases . . . is good cause for withdrawal of the
                21           reference and consolidation with the district court proceeding.”); see also In re Adelphia
                22
                             Commc’ns Corp. Sec. & Derivative Litig., 2006 WL 337667, at *4-5 (S.D.N.Y. Feb. 10,
                23
                24           2006) (granting motion to withdraw the reference where lawsuit in bankruptcy court
                25           involved many of the same defendants and issues as class action pending in the district
                26
                             court).
                27
                28
                                                                         16                                     Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 21 of 25 Page ID #:24



                   1                       Withdrawal of the Reference Will Avoid Unnecessary Incurrence of
                   2                       Costs to All Parties and Expedite the Chapter 15 Process.

                   3                It is self-evident that each stage of the intense back-and-forth controversy ignited
                   4         by the Substitution Motion served only to impose delay and additional expense on both
                   5
                             parties -- fees and expenses that ultimately will be borne by Smagin.15 At the Status
                   6
                   7         Conference, counsel for the Foreign Representative recognized the additional expense
                   8         imposed by the Substitution Appeal. October 13 Hr’g Tr. p. 17:16-17, Kennedy Decl.,
                   9
                             Exh. 17 (“the foreign representative has enforced [sic] to incur costs in connection with
                10
                11           this.”).
                12
                                    The history of the Substitution Motion and subsequent events as described above
                13
                             demonstrate that withdrawing the reference of the Chapter 15 Case is a more efficient
                14
                15           use of judicial resources and will reduce the expenses to be incurred by the parties in
                16
                             the expensive and unnecessary game of ping pong between two different courts. Issues
                17
                             arising from or relating to the Smagin Litigation Matters dominate the Chapter 15 Case
                18
                19           to the exclusion of any others, and are more efficiently resolved by the Division of the
                20
                             District Court that, unlike the Bankruptcy Court, already has familiarity with all of those
                21
                             matters and maintains jurisdiction over both the Enforcement Action and the Fraudulent
                22
                23
                             15
                24               Counsel for the Foreign Representative has advised the Bankruptcy Court that under
                             principles of Russian bankruptcy law any residual value in the surplus of assets over
                25           allowed claims is returned to the Debtor. Because a surplus almost assuredly will exist
                             in his Russian bankruptcy case, it is Smagin who ultimately will bear the fees and
                26           expenses run up by Ratnikov’s counsel in jockeying to avoid the transfer of the
                             Substitution Appeal -- and doubtless any future appeals -- to Judge Klausner, and then
                27           creating a false controversy before the Bankruptcy Court about the meaning and effect
                             of the District Court’s Orders.
                28
                                                                         17                                    Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 22 of 25 Page ID #:25



                   1         Transfer Action. See Security Farms, 124 F.3d at 1009 (finding withdrawal of the
                   2
                             reference was appropriate where the underlying issues did not depend solely on the
                   3
                   4         Bankruptcy Code).

                   5                     Withdrawal of the Reference Will Have No Adverse Impact on the
                   6                     Uniformity of Bankruptcy Administration.

                   7               Withdrawal of the reference to the District Court will not operate to interfere with
                   8         or undermine the “uniformity of bankruptcy administration.” Security Farms, 124 F.3d
                   9
                             at 1008. Simply stated, and as demonstrated above, with recognition and relief already
                10
                11           having been granted the Chapter 15 Case presents no new or novel issues of bankruptcy
                12
                             law,16 but relates solely and entirely to administration and realization of the U.S.
                13
                             Judgment and Smagin Litigation Matters that constitute the U.S. Assets. In the absence
                14
                15           of any the novel and complex bankruptcy law issues that may arise in cases under other
                16
                             chapters of the Bankruptcy Code, withdrawal of the reference poses no threat to the
                17
                             “uniformity of bankruptcy administration.”
                18
                19                       Withdrawal of the Reference to Judge Klausner’s Division of the
                                         District Court Will Eliminate Ratnikov’s Future Attempts at Forum
                20
                                         Shopping.
                21
                                   In the Transfer Order, Judge Klausner accepted transfer of the Substitution
                22
                23           16
                                 See Dynegy Danskammer, L.L.C. v. Peabody Coaltrade Int’l Ltd., 905 F. Supp. 2d
                24           526, 533 (S.D.N.Y. 2012) (withdrawing reference after discussion of multiple factors
                             including uniformity of bankruptcy administration). Compare Dev. Specialists, Inc. v.
                25           Akin Gump Strauss Hauer & Feld LLP, 462 B.R. 457, 473 (S.D.N.Y. 2011) (granting
                             withdrawal where claims presented would have “no impact that would require uniform,
                26           coordinated adjudication before the Bankruptcy court”) with Extended Stay, Inc. v.
                             Blackstone Grp., 466 B.R. 188, 207 (S.D.N.Y. 2011) (denying withdrawal where claims
                27           “likely involved ‘novel issues of bankruptcy law.’”).
                28
                                                                        18                                    Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 23 of 25 Page ID #:26



                   1         Appeal as a related case to the Enforcement Action. Moreover, in the Mootness Order
                   2
                             Judge Klausner referred twice to the Enforcement Action as a “related matter” and a
                   3
                   4         “related case.” Mootness Order, p. 1, Kennedy Decl., Exh. 4.

                   5               Nevertheless, as described above, Ratnikov sought mightily to prevent the
                   6
                             transfer of the Substitution Appeal to Judge Klausner, advancing the unsupportable
                   7
                   8         argument that it was not a related case under the applicable Local Rule. In so doing,

                   9         the Foreign Representative engaged in forum shopping to prevent the transfer of the
                10
                             Substitution Appeal to the District Judge who continues to preside over the Enforcement
                11
                12           Action and accordingly is familiar with both Ratnikov’s prior effort to intervene (not

                13           substitute) in that Action17 and with the claims asserted by Smagin against Ratnikov in
                14
                             the RICO Action.
                15
                16                 It requires little imagination to conclude that Ratnikov’s vehement opposition to

                17           the transfer, and extraordinary filing of a motion seeking reconsideration of the Transfer
                18
                             Order, were motivated by a desire to write on a clean slate before a new and different
                19
                20           District Court Judge lacking any knowledge of or familiarity with the sordid history of
                21           Ashot's fraudulent and contemptuous efforts to evade payment of the U.S. Judgment
                22
                             and London Arbitration Award on which that Judgment is based. Ratnikov’s attempt
                23
                24           at forum shopping is almost guaranteed to recur in the event of future appeals from any
                25
                26
                             17
                27              Enforcement Action, DE Nos. 312 and 346, Kennedy Decl., Exhs. 6 and 7,
                             respectively.
                28
                                                                        19                                    Case No.
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 Los Angeles, CA 90067
   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 24 of 25 Page ID #:27



                   1         decisions of the Bankruptcy Court in the Chapter 15 Case that relate to any of the
                   2
                             Smagin Litigation Matters which, as mentioned, are the sole issues involved in that
                   3
                   4         Case. Withdrawal of the reference to Judge Klausner will serve to eliminate the

                   5         wasteful exercise of seeking a new and different District Court Judge in the further
                   6
                             appeals that are likely to arise in the Chapter 15 Case.
                   7
                   8                      Withdrawal of the Reference Will Promote the Interests of Uniformity
                                          and Consistency.
                   9
                                   Consistent with all of the foregoing principles, “other related factors” presented
                10
                11           here also require withdrawal of the reference of the Chapter 15 Case. Security Farms
                12
                             at 1008. The dispute over the interpretation of the District Court's October 8 Orders
                13
                             that arose at the October 13 Status Conference in the Bankruptcy Court amply
                14
                15           demonstrates the potential for inconsistent rulings in the two courts on issues that may
                16
                             affect the rights of the parties in the Smagin Litigation Matters. It is thus in the interests
                17
                             of consistency and uniformity, as well as consistent with the Security Farms Factors
                18
                19           discussed above, that the District Court withdraw the reference of the Chapter 15 Case
                20
                             to Judge Klausner’s Division of the Court.
                21
                22           V.    CONCLUSION
                23                 For the reasons set forth above, “cause” plainly exists to withdraw the reference
                24
                             of the Chapter 15 Case to the District Court and assign it to the Division over which
                25
                26           Judge Klausner presides. Each of the Security Farms Factors is satisfied, and the events
                27
                             and occurrences since the filing of the Substitution Motion in the Enforcement Action
                28
                                                                          20                                     Case No.
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   Tel: 310.201.4728
                     Case 2:21-cv-08447-RGK Document 1-1 Filed 10/25/21 Page 25 of 25 Page ID #:28



                   1         demonstrate the inefficiency, waste of judicial resources and opportunity for mischief
                   2
                             and inconsistent rulings that arise from the conduct of the Chapter 15 Case before the
                   3
                   4         Bankruptcy Court. Withdrawal of the reference as requested also will bring the

                   5         Chapter 15 Case before the Judge of this Court whose long and extensive experience in
                   6
                             and familiarity with the Smagin Litigation Matters -- and particularly the Enforcement
                   7
                   8         Action -- will promote uniformity and consistence in the important rulings in those cases

                   9         and the Chapter 15 Case.
                10
                                   Accordingly, pursuant to 28 U.S.C. § 157(d), the Court should withdraw the
                11
                12           reference of the Chapter 15 Case.

                13
                             Dated: October 25, 2021                    BAKER & McKENZIE LLP
                14
                                                                        Nicholas O. Kennedy
                15                                                      Mark D. Bloom (Pro Hac Vice)
                16                                                      Reginald Sainvil (Pro Hac Vice)
                17
                                                                        By: /s/ Nicholas O. Kennedy
                18                                                              Nicholas O. Kennedy
                19                                                      Attorneys for Foreign Debtor
                20                                                      VITALY IVANOVICH SMAGIN
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                                                                       21                                    Case No.
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